                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION
                                    No. 7:14-CV-157-D

CTB,INC.,                                       )
                                                )
                                 Plaintiff,     )
                                                )
                   v.                           )                  ORDER
                                                )
HOG SLAT INCORPORATED,                          )
                                                )
                                 Defendant.     )

       On July 31, 2017, the parties filed a joint motion [D.E. 153] requesting a stay on any ruling

on the pending motions for summary judgment [D.E. 115, 118], motion in limine to exclude

plaintiff's expert Rhonda Harper [D.E. 142], and motion for hearing [D.E. 148] pending the outcome

of engineering tests that, if successful, could likely lead to settlement. Good cause exists for the

motion. The motion [D.E. 153] is GRANTED, and it is ORDERED that:

       (i)       the pending motions [D.E. 115, 118, 142, 148] are DENIED without prejudice

                 pending the outcome of defendant's engineering tests;

       (ii)      no later than November 1, 2017, the parties shall submit a joint notice to the court

                 advising of the status of the testing and settlement efforts; and

       (iii)     the parties shall promptly advise the court if at any time either party determines that

                 the outcome ofthe tests and/or settlement discussions will not result in settlement so

                 thatthecourtmayliftthe stay, reactivatethemotion8atD.E. 115, 118, 142, 148, and

                 rule on the merits of the those motions.

       SO ORDERED. This ..J.L day of July 2017.




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